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                                                                          7                     IN THE UNITED STATES DISTRICT COURT
                                                                          8                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          9
                                                                              IN RE: CATHODE RAY TUBE (CRT)           )   MDL No. 1917
                                                                         10   ANTITRUST LITIGATION                    )
United States District Court
                               For the Northern District of California




                                                                                                                      )   Case No. C-07-5944-SC
                                                                         11                                           )
                                                                                                                      )   ORDER WITHDRAWING REFERENCE
                                                                         12   This Order Relates To:                  )   TO SPECIAL MASTER OF
                                                                                                                      )   TOSHIBA'S MOTION TO COMPEL
                                                                         13                                           )
                                                                              Toshiba America Information             )
                                                                         14   Systems, Inc.'s Letter Brief            )
                                                                              Regarding Plaintiffs' Discovery         )
                                                                         15   Deficiency.                             )
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                                                                         16                                           )
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                                                                         18         On May 6, 2014, the Special Master informed the Court that the
                                                                         19   Toshiba Defendants intend to move to compel Plaintiffs ABC
                                                                         20   Appliance, MARTA, and P.C. Richard ("Plaintiffs") to produce
                                                                         21   settlement agreements concerning the claims they assert in their
                                                                         22   complaint.   The Court finds that the parties would likely seek
                                                                         23   review of the Special Master's decision on this motion.
                                                                         24   Consideration of the motion by the Special Master would, therefore,
                                                                         25   likely entail unnecessary duplication of time and effort by the
                                                                         26   parties, and would prolong the resolution of important legal
                                                                         27   issues.
                                                                         28   ///
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                                                                          1        The Court accordingly WITHDRAWS the reference of Toshiba's
                                                                          2   motion to the Special Master, places the motion on its own docket,
                                                                          3   and instructs the parties to calendar and brief the motion before
                                                                          4   the undersigned.
                                                                          5        Once Toshiba has filed its motion with the Court, Plaintiffs
                                                                          6   will have fifteen days to file an opposition, after which Toshiba
                                                                          7   will have ten days to file a reply.       The opposition brief may be no
                                                                          8   longer than ten pages, and the reply may be no longer than five.
                                                                          9   After the parties file their briefs, the Court will decide the
                                                                         10   motion on the papers.     If the parties resolve this issue on their
                               For the Northern District of California
United States District Court




                                                                         11   own, as they are highly encouraged to do, they should inform the
                                                                         12   Court and withdraw the motion.
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                                                                         14        IT IS SO ORDERED.
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                                                                         16         Dated:   May 8, 2014
                                                                                                                 UNITED STATES DISTRICT JUDGE
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